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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               NORTHERN DIVISION


 MICHELLE PAYMENT,

       Plaintiff,
                                                        Case No. 2:19-cv-192
 v.
                                                        HONORABLE PAUL L. MALONEY
 COMMISSIONER OF SOCIAL SECURITY,

       Defendant.
 _____________________________________/


                                        JUDGMENT

      In accordance with the Order entered this date:

      IT IS HEREBY ORDERED that the decision of the Administrative Law Judge is

AFFIRMED.




Dated: August 28, 2020                                     /s/ Paul L. Maloney
                                                          Paul L. Maloney
                                                          United States District Judge
